                                   Case 24-40167-reg                Doc 1        Filed 06/25/24           Page 1 of 15


Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF INDIANA, LAFAYETTE DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an amended
                                                                                                                              filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Maximus Supply Chain Holdings, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3535 Brady Lane
                                  Lafayette, IN 47909
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Tippecanoe                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Maximus Supply Chain Holdings, LLC                                                           Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the               Chapter 7
     debtor filing?
                                          Chapter 9
     A debtor who is a “small
                                          Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if any
                                                                 of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against the        Yes.
     debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                                  Relationship
                                                 District                                 When                              Case number, if known

Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor   Maximus Supply Chain Holdings, LLC                                                         Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any           Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone


         Statistical and administrative information

13. Debtor's estimation of      .          Check one:
    available funds                           Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                        50-99                                            5001-10,000                                 50,001-100,000
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor    Maximus Supply Chain Holdings, LLC                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       June 25, 2024
                                                   MM / DD / YYYY


                              X /s/ Sam Bazzi                                                              Sam Bazzi
                                  Signature of authorized representative of debtor                         Printed name

                                  Title   President/CEO




18. Signature of attorney     X /s/ Sarah L. Fowler                                                         Date    June 25, 2024
                                  Signature of attorney for debtor                                                 MM / DD / YYYY

                                  Sarah L. Fowler 30621-49
                                  Printed name

                                  Blackwell Burke and Fowler PC
                                  Firm name

                                  101 West Ohio Street Suite 1700
                                  Indianapolis, IN 46204
                                  Number, Street, City, State & ZIP Code


                                  Contact phone     (317) 635-5005                Email address      sfowler@bbrlawpc.com

                                  30621-49 IN
                                  Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     Maximus Supply Chain Holdings, LLC                                                Case number (if known)
           Name




Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF INDIANA, LAFAYETTE DIVISION

Case number (if known)                                                   Chapter     11
                                                                                                                          Check if this an amended
                                                                                                                          filing



                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Action SCS LLC                                                          Relationship to you                Subsidiary
District   Northern District of Indiana               When     6/25/24             Case number, if known
Debtor     GC3 Logistics, Inc.                                                     Relationship to you                Subsidiary
District   Northern District of Indiana               When     6/25/24             Case number, if known
Debtor     GC3 Warehousing, LLC                                                    Relationship to you                Subsidiary
District   Northern District of Indiana               When     6/25/24             Case number, if known
Debtor     Maximus Industries Corporation                                          Relationship to you                Subsidiary
District   Northern District of Indiana               When     6/25/24             Case number, if known
Debtor     Maximus Logistics Corporation                                           Relationship to you                Subsidiary
District   Northern District of Indiana               When     6/25/24             Case number, if known
Debtor     Maximus Logistics Solutions, LLC                                        Relationship to you                Subsidiary
District   Northern District of Indiana               When     6/25/24             Case number, if known
Debtor     Maximus Transport Systems, LLC                                          Relationship to you                Subsidiary
District   Northern District of Indiana               When     6/25/24             Case number, if known




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 Fill in this information to identify the case:

 Debtor name         Maximus Supply Chain Holdings, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF INDIANA, LAFAYETTE DIVISION

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           June 25, 2024                          X /s/ Sam Bazzi
                                                                       Signature of individual signing on behalf of debtor

                                                                       Sam Bazzi
                                                                       Printed name

                                                                       President/CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Maximus Supply Chain Holdings, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA,                                                                                Check if this is an
                                                LAFAYETTE DIVISION
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Indiana Department                                                                                                                                                          Unknown
 of Revenue
 Bankruptcy Section
 100 North Senate
 Avenue, MS 108
 Indianapolis, IN
 46204
 Internal Revenue                                                                                                                                                            Unknown
 Service
 PO Box 7346
 Philadelphia, PA
 19101-7346




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Fill in this information to identify the case:

 Debtor name            Maximus Supply Chain Holdings, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF INDIANA, LAFAYETTE DIVISION

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $                      0.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                                             United States Bankruptcy Court
                                                      Northern District of Indiana, Lafayette Division
 In re      Maximus Supply Chain Holdings, LLC                                                                       Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
 Sam Bazzi                                                                                                                      Sole Member
 3535 Brady Lane
 Lafayette, IN 47909


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President/CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date       June 25, 2024                                                    Signature /s/ Sam Bazzi
                                                                                           Sam Bazzi

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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(6/2010)
                                                               United States Bankruptcy Court
                                                       Northern District of Indiana, Lafayette Division
 In re      Maximus Supply Chain Holdings, LLC                                                         Case No.
                                                                                Debtor(s)              Chapter    11




                                              VERIFICATION OF CREDITOR MATRIX

   The above-named debtor(s) verifies under penalty of perjury that the attached list of creditors is true and correct to the best of his/her
knowledge.




 Date:        June 25, 2024                                          /s/ Sam Bazzi
                                                                     Sam Bazzi/President/CEO
                                                                     Signer/Title




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